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                   UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF NEW JERSEY
                         CAMDEN VICINAGE

                                             MDL No. 2875
  IN RE: VALSARTAN, LOSARTAN,                Civil No. 19-02875 (RBK/JS)
  AND IRBESARTAN PRODUCTS
  LIABILITY LITIGATION                       Honorable Robert B. Kugler,
                                             District Court Judge

  This Document Relates to All Actions       Honorable Karen Williams,
                                             Magistrate Judge



    MANUFACTURER DEFENDANTS’ OPPOSITION TO PLAINTIFFS’
      MOTION FOR LEAVE TO AMEND MASTER COMPLAINTS
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                               I.      INTRODUCTION

        This Court should deny Plaintiffs’ Motion for Leave to Amend Master

  Complaints [ECF No. 1148] (the “Motion to Amend”), or alternatively set

  conditions and limitations on Plaintiffs’ proposed amendments and dismiss or strike

  non-conforming amendments with prejudice, because Plaintiffs have failed to follow

  the Court’s clear guidance. The Court entered six Opinions [ECF Nos. 675, 728,

  775, 818, 838, and 1019] (“MDT Opinions 1-6”) and six Orders [ECF Nos. 676,

  729, 776, 819, 839, and 1020] (“MTD Orders 1-6”), granting in part and denying in

  part Defendants’ motions to dismiss. These MTD Opinions and MTD Orders

  repeatedly identified specific pleading defects and afforded Plaintiffs an opportunity

  to try to amend. Yet Plaintiffs have disregarded much of the Court’s guidance, failing

  to cure the issues enumerated by the Court and inserting other amendments not

  contemplated by the Court that create new errors and prejudices.

        Plaintiffs propose to file three amended Master Complaints to replace the

  three existing master pleadings: a Proposed Amended Master Valsartan Personal

  Injury Complaint [ECF No. 1148-1] (“PPIMC”); a Proposed Third Amended

  Consolidated Economic Loss Class Action Complaint [ECF No. 1148-3]

  (“PELMC”); and a Proposed Consolidated Second Amended Medical Monitoring

  Class Action Complaint [ECF No. 1148-5] (“PMMMC”) (collectively, the

  “Proposed Master Complaints”). These pleadings perpetuate deficiencies of

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  standing, traceability, lack of privity, subsumption, and failure to state claims for

  negligence per se and unjust enrichment—all of which were detailed in the MTD

  Opinions and MTD Orders with a roadmap to fix Plaintiffs’ pleadings. Having failed

  to cure the defects after clear notice and an opportunity to address them, Plaintiffs

  should be denied leave to include the same futile claims and allegations in their

  Proposed Master Complaints and the claims should be dismissed with prejudice.

        The Proposed Master Complaints also seek to add a new theory of liability

  against the Manufacturer Defendants for allegedly failing to meet the standards of

  an “official compendium.” These amendments were not contemplated by the MTD

  Opinions and MTD Orders and are futile and prejudicial, both because they fail to

  state a claim and, to the extent based on alleged non-conformance with the standards

  or requirements of the U.S. Food & Drug Administration’s (“FDA”) “Orange Book,”

  because they are preempted by federal law.

        For these reasons, the Motion to Amend does not satisfy the requirements of

  Federal Rule of Civil Procedure 15(a)(2) and applicable authority. In particular, the

  Proposed Master Complaints maintain or introduce six pleading defects:1


        1
           As discussed below, each Proposed Master Complaint fails to cure serious
  pleading defects the Court identified in the MTD Opinions and MTD Orders, and
  interjects a new, unauthorized, and facially insufficient theory of liability the Court
  had no prior opportunity to consider. Thus, this opposition raises significant issues
  as to the legal sufficiency of Plaintiffs’ proposed amendments, which issues the
  Court may in its discretion prefer to address in later motions to dismiss and to
  analyze Plaintiffs’ specific allegations (which must be independently scrutinized as
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        First, the PELMC and PMMMC still assert claims that Plaintiffs lack standing

  to bring, including improper out-of-state claims, claims against Defendants to which

  the asserting Plaintiffs cannot trace their alleged injuries, and diminution-in-value

  claims that lack a factual basis for standing.

        Second, the PPIMC, PELMC, and PMMMC all assert breach of warranty

  claims that fail to meet applicable States’ privity requirements.

        Third, the PELMC and PMMMC fail to cure their subsumed claims.

        Fourth, the PELMC and PMMMC fail to exclude negligence per se claims

  asserted under the laws of States that do not recognize this theory.

        Fifth, the PELMC fails to allege facts establishing no adequate remedy at law

  exists in those States requiring such an allegation for unjust enrichment.

        Sixth, the PPIMC, PELMC, and PMMMC all add new allegations that the

  Manufacturer Defendants’ valsartan failed to comply with “official compendium”

  standards set forth in the FDA’s Orange Book or the United States Pharmacopeia—

  a theory that fails to state a claim and is preempted by federal law.




  a matter of law) under Rule 12(b). Accordingly, depending on how the Court rules
  on Plaintiffs’ Rule 15(a) motion and after Plaintiffs (if allowed to do so) have
  finalized their amendments into a new set of operative Proposed Master
  Complaints, the Manufacturer Defendants anticipate a Rule 12(b) motion directed
  to Plaintiffs’ new facial pleading defects in their final form will be necessary.

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        The Manufacturer Defendants2 therefore request that the Court either deny the

  Motion to Amend in its entirety, or, in the alternative, grant the Motion to Amend

  subject to the conditions and limitations that: (i) the foregoing claims and allegations

  Plaintiffs have failed to cure are dismissed with prejudice; (ii) Plaintiffs’ new

  “official compendium” allegations and theory are disallowed; and (iii) Plaintiffs

  must conform the Proposed Master Complaints to the Court’s ruling.

                                II.    BACKGROUND

  A.    The Valsartan Litigation

        This litigation centers around the alleged presence of nitrosamines in the

  Manufacturer Defendants’ generic valsartan and valsartan combination prescription

  drugs. Plaintiffs to the PPIMC allege that they developed cancer as a result of

  ingesting Defendants’ valsartan. Plaintiffs to the PELMC and PMMC assert claims

  on behalf of putative classes: (1) seeking reimbursement of amounts paid for




        2
          The Manufacturer Defendants are Zhejiang Huahai Pharmaceutical Co.,
  Ltd., Huahai U.S., Inc., and Prinston Pharmaceutical, Inc., d/b/a Solco Healthcare
  LLC (collectively, the “ZHP Defendants”), Hetero Labs, Ltd., Hetero Drugs,
  Limited, Hetero USA Inc., and Camber Pharmaceuticals, Inc. (collectively, the
  “Hetero Defendants”), Mylan Laboratories, Ltd., Mylan N.V., and Mylan
  Pharmaceuticals, Inc. (collectively, the “Mylan Defendants”), Aurobindo Pharma,
  Ltd., Aurobindo Pharma USA, Inc., and Aurolife Pharma, LLC (collectively, the
  “Aurobindo Defendants”), Teva Pharmaceutical Industries Ltd., Teva
  Pharmaceuticals USA, Inc., Arrow Pharm Malta Ltd., Actavis Pharma, Inc.,
  Actavis, LLC, Torrent Pharmaceuticals, Ltd., and Torrent Pharma, Inc.

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  Defendants’ valsartan; and (2) seeking the establishment of a fund to provide

  medical monitoring for those that have ingested valsartan.

  B.    The Manufacturer Defendants’ Motions to Dismiss

        The Manufacturer Defendants filed a Motion to Dismiss on July 17, 2020

  [ECF No. 520], seeking to dismiss Plaintiffs’ then-operative Master Complaints for

  myriad pleading defects, including: (1) lack of standing; (2) lack of traceability; (3)

  lack of privity for breach of warranty claims; (4) subsumption; (5) preemption and

  primary jurisdiction; (6) inadequacy to plead fraud; (7) failure to allege design defect

  and failure-to-warn product liability claims; (8) failure to properly plead claims

  regarding negligence per se; (9) failure to properly plead express and implied

  warranty claims; (10) failure to adequately plead unjust enrichment; and (11) failure

  to adequately plead wrongful death, survival actions, loss of consortium, and claims

  for punitive damages. The Wholesaler Defendants and Pharmacy Defendants filed

  their own Motions to Dismiss [ECF Nos. 522 and 523, respectively] presenting

  additional grounds to dismiss the claims against them.

  C.    The Courts’ Six MTD Opinions and MTD Orders Provide Guidance to
        Amend Plaintiffs’ Complaints to Cure Pleading Deficiencies

       The Court issued its MTD Opinions and MTD Orders granting in part and

  denying in part Defendants’ Motions to Dismiss between December 2020 and March

  2021. The MTD Opinions and MTD Orders identify numerous defects in Plaintiffs’

  pleadings and offer guidance for Plaintiffs to fix the deficiencies, as follows:
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       MTD Opinion 2 [ECF No. 728] and MTD Order 2 [ECF No. 729] dismissed
        Plaintiffs’ out-of-state claims and one of Plaintiffs’ economic loss theories
        for lack of standing, and dismissed Plaintiffs’ claims against various
        Defendants for lack of traceability;

       MTD Opinion 3 [ECF No. 775] and MTD Order 3 [ECF No. 776] dismissed
        Plaintiffs’ claims in the PIMC for breach of implied warranty under the laws
        of Kentucky and Wisconsin, as well as Plaintiffs’ breach of implied warranty
        claims in the ELMC and MMMC under the laws of Alabama, Arizona,
        Idaho, Iowa, Kansas, Kentucky, Michigan, North Carolina, Ohio, Oregon,
        Tennessee, Utah, and Wisconsin, due to a lack of privity;

       MTD Opinion 3 and MTD Order 3 dismissed Plaintiffs’ claims under the
        Magnuson-Moss Warranty Act in all three Master Complaints with
        prejudice;

       MTD Opinion 5 [ECF No. 838] and MTD Order 5 [ECF No. 839] dismissed
        Plaintiffs’ Louisiana law claims in the ELMC as subsumed, and further
        dismissed as subsumed Plaintiffs’ claims in the MMMC under the laws of
        Connecticut, Indiana, Kansas, Louisiana, Mississippi, New Jersey, Ohio,
        Tennessee, and Washington;

       MTD Opinion 5 and MTD Order 5 dismissed Plaintiffs’ negligence per se
        claims with prejudice under the laws of Arkansas, Arizona, California,
        Massachusetts, Maine, Nebraska, Rhode Island, and Texas; and

       MTD Opinion 6 [ECF No. 1019] and MTD Order 6 [ECF No. 1020]
        dismissed Plaintiffs’ unjust enrichment claims arising under the laws of
        Alabama, Florida, Hawaii, Idaho, Illinois, Iowa, Kansas, Louisiana,
        Massachusetts, Mississippi, Oklahoma, South Carolina, and West Virginia.

        In most instances, other than those claims dismissed with prejudice, the MTD

  Opinions and MTD Orders afforded Plaintiffs an opportunity to seek leave to amend

  to address the identified deficiencies. Plaintiffs’ Motion for Leave and the

  accompanying Proposed Amended Complaints purport to address the issues


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  identified by the Court in the MTD Opinions and MTD Orders, but, as detailed

  below, fail to do so. Leave to amend should therefore be denied and Plaintiffs’

  uncured defective claims and allegations should be dismissed with prejudice.

                                  III.   ARGUMENT

  A.    Legal Standard

        Leave to amend under Rule 15(a) “is not automatic.” In re Ford Motor Co.

  Ignition Switch Prods. Litig., 39 F. Supp. 2d 458, 467 (D.N.J. 1999) (citations

  omitted). The Court may deny leave “upon a showing of ‘undue delay, bad faith …,

  repeated failure to cure deficiencies by amendments previously allowed, undue

  prejudice to the opposing party by virtue of allowance of the amendment, futility of

  amendment, etc.’” Id. (quoting Foman v. Davis, 371 U.S. 178, 182 (1982)). Leave

  to amend also is not “all-or-nothing”; the Court may “impose reasonable conditions

  on the right to amend in lieu of a pure grant or denial,” including “narrow[ing] the

  scope of the amendment if it considers the request too broad.” Mullin v. Balicki, 875

  F.3d 140, 150 (3d Cir. 2017) (quoting Wright & Miller § 1486).

        Of the six “Foman factors” considered on a motion for leave to amend, those

  most relevant here are failure to cure deficiencies, futility, and undue prejudice. To

  evaluate futility, the Court applies “the ‘same standard of legal sufficiency’ as would

  be applied to a motion to dismiss under Rule 12(b)(6).” Maiden Creek Assocs., L.P.

  v. U.S. Dep’t of Transp., 823 F.3d 184, 189 (3d Cir. 2016) (quoting Shane v. Fauver,


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  213 F.3d 113, 115 (3d Cir. 2000)). If allowing amendment would “avail the

  petitioner nothing, or if an amended complaint is subject to summary dismissal, it

  being a mere matter of form whether an amended complaint was accepted and then

  dismissed or refused at the outset,” denial of leave to amend is appropriate. Stephens

  v. Reed, 121 F.2d 696, 699 (3d Cir. 1941). Futility means the complaint, as amended,

  would fail to state a claim upon which relief can be granted. In re NAHC, Inc. Sec.

  Litig., 306 F.3d 1314, 1332 (3d Cir. 2002).

        With respect to prejudice, the Court should deny leave to amend where

  permitting the amendments would impose “hardship to the defendants,” including

  “additional discovery, cost, and preparation to defend against new facts or new

  theories[.]” Cureton v. Nat’l Coll. Athl. Ass’n, 252 F.3d 267, 273 (3d Cir. 2001).3 It

  is prejudicial to require a defendant to incur the delay and expense of addressing

  uncured pleading deficiencies where the plaintiff has been given notice of the defects

  and has failed to cure through amendment after an opportunity to do so. See Foster

  v. JLG Indus., 199 F. App’x 90 (3d Cir. 2006), cert denied, 551 U.S. 1104 (2007).




        3
          The PELMC and PMMMC add numerous additional putative class
  representative Plaintiffs. Though this entails additional discovery, cost, and
  preparation, the Manufacturer Defendants do not object to the inclusion of
  additional putative Plaintiffs (subject to the Manufacturer Defendants’ other
  arguments herein), so long as the case management schedule accommodates the
  necessity of additional discovery with respect to these Plaintiffs.

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  B.    The Court Should Deny Leave to Amend Because the PELMC and
        PMMMC Have Failed to Cure Their Standing Defects Under MTD
        Opinion 2

        The PELMC and PMMMC fail to address the facial pleading defects this

  Court identified in MTD Opinion 2 and MTD Order 2 with respect to Plaintiffs’ lack

  of Article III standing, and introduce new standing errors into their amended

  allegations. Plaintiffs still seek to assert claims under the laws of states in which

  Plaintiffs do not reside and were not injured, continue to assert claims Plaintiffs

  cannot trace to the Defendants they are suing, and assert third-party payor (“TPP”)

  claims Plaintiffs have affirmatively stipulated they are not pursuing and which are

  untraceable to the conduct of the Defendants the TPPs are suing. To satisfy Article

  III standing, a plaintiff must allege: “(1) an injury-in-fact that is actual or imminent

  and concrete and particularized, not conjectural or hypothetical, (2) that is fairly

  traceable to the defendant’s challenged conduct, and (3) that is likely to be redressed

  by a favorable judicial decision.” Koronthaly v. L’Oreal USA, Inc., 374 F. App’x

  257, 259 (3d Cir. 2010). The PELMC and PMMMC do not meet this obligation.

        1.     Plaintiffs Continue to Assert State-Specific Claims Under the
               Laws of Unrepresented States and Territories

        Ignoring this Court’s prior ruling, both the PELMC and PMMMC continue to

  assert state-specific claims under the laws of all fifty states, Washington, D.C., and

  Puerto Rico for breach of express warranty, breach of implied warranty, and

  violation of state consumer protection laws. (See PELMC ¶¶ 628, 639, 645, 663,
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  736, 754; PMMMC ¶¶ 639, 660). This Court unequivocally closed the door to such

  claims in MTD Opinion 2, dismissing “for want of standing” all claims asserted

  under the laws of States in which Plaintiffs “neither reside … nor have alleged they

  suffered an injury[.]” (MTD Opinion 2 at 19). That ruling is well-founded, as class

  representatives only have standing to sue under the laws of those states in which they

  reside or were injured. See Cooper v. Medimetriks Pharms., Inc., No. 18-11987,

  2019 WL 1370414, at *4, (D.N.J. Mar. 25, 2019); In re Magnesium Oxide Antitrust

  Litig., No. 10-cv-5943, 2011 WL 5008090 (D.N.J. Oct. 20, 2011).

        There are 29 states and territories unrepresented by any putative PELMC class

  representative, and 42 states and territories unrepresented by any putative PMMMC

  class representatives. See Charts (attached hereto as Exhibit A) at 1-2. Leave to

  amend should be denied as to these unrepresented states and territories, and all

  claims asserted by Plaintiffs under their laws should be dismissed with prejudice.

        Additionally, as set forth in § III.D.2, infra, Plaintiff Richard O’Neill’s claims

  as a resident of Kansas and putative class representative in the PMMMC on behalf

  of a putative Kansas sub-class (see PMMMC ¶¶ 558, 561), are subsumed by the

  Kansas Products Liability Act. Plaintiffs have not amended to assert any claims

  under the Kansas Products Liability Act, and medical monitoring is not a cognizable

  injury under the statute. See Kan. Stat. Ann. § 60-3302. As such, Plaintiff O’Neill

  fails to allege a cognizable “injury-in-fact” traceable to any Defendant and

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  redressable by any asserted common law claim under Kansas state law, and therefore

  lacks standing to assert the PMMMC claims. Accordingly, Kansas should be added

  to the other 42 states to be dismissed from the PMMC with prejudice.

        2.     Plaintiffs Cannot Trace Their Claims from at Least One Injured
               Plaintiff to All Defendants in Each State

        Plaintiffs’ attempts to cure the element of “traceability” also fall short. To

  satisfy Article III standing, Plaintiffs must establish, at a minimum, “a fairly

  traceable connection between the alleged injury in fact and the alleged conduct of

  the Defendant.” Vt. Agency of Natural Res. v. United States ex rel. Stevens, 529 U.S.

  765, 771 (2000). That applies with equal force to class actions. See In re Franklin

  Mut. Funds Fee Litig., 388 F. Supp. 2d 451, 461 (D.N.J. 2005), as amended (Sept.

  22, 2005). Indeed, just days ago, this Court re-confirmed the necessity of tracing a

  putative class representative’s injury to each named Defendant in a similar MDL

  asserting nearly identical economic loss claims based on plaintiffs’ alleged purchase

  of NDMA-contaminated metformin. See In re Metformin Mktg. and Sales Practices

  Litig., No. 2:20-cv-02324-MCA-MAH Order slip op. at 4 (Arleo, J.) (attached hereto

  as Exhibit B) (holding that, to establish Article III standing, plaintiffs must “connect

  each Defendants’ [sic] actions to at least one injured Plaintiff[.]”). Likewise, in MTD

  Opinion 2, this Court found that Plaintiffs “have failed to trace their injuries to many

  of the Defendants in this case beyond conclusory allegations that lump Defendants

  together… [and] do not show that one of the named Plaintiffs has alleged an injury
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  that is traceable to each of the named Defendants.” (MTD Opinion 2 at 17). As a

  result, Plaintiffs’ allegations “do not show that the named Plaintiffs can assert their

  own direct claim against a named Defendant.” (Id.).

        Each Plaintiff now attempts to trace his or her alleged injury to specific

  Defendants. (See PELMC ¶¶ 14-58; PMMMC ¶¶ 396[sic]-412[sic]). Yet many

  Defendants remain to whom no Plaintiff has traced an injury. There are five such

  untraced Defendants named in the PELMC, and eleven named in the PMMMC. See

  Charts at 3-4. Leave to amend should be denied as to these untraced Defendants and

  all claims against them should be dismissed with prejudice.4

        Moreover, Plaintiffs’ amendments create a new traceability problem in the

  form of individual Plaintiffs purporting to represent putative statewide sub-classes

  naming Defendants to whom no putative class representative in that State can trace

  an injury. As discussed in § III.B.1, supra, individual putative class representatives

  only have standing to assert claims under the laws of a state in which they reside or

  were injured. Likewise, they only have standing to assert claims against those

  defendants to whom they can trace their injuries. See In re Franklin, 388 F. Supp.

  2d at 461; MTD Opinion 2 at 17. Yet the PELMC and PMMMC purport to create



        4
        No Plaintiff in the PMMMC traces an injury to the following Manufacturer
  Defendants: Arrow Pharma Malta, Ltd., Torrent Pharma, Inc., and Torrent
  Pharmaceuticals Ltd. See Chart at 4.

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  statewide sub-classes against all Defendants for each state in which any named

  Plaintiff resides—without regard to whether the named Plaintiffs in that state can

  trace their injuries to each Defendant. (See PELMC ¶¶ 607-08; PMMMC ¶¶ 560-

  61). The PMMMC further attempts to create statewide subclasses in 40

  unrepresented states and territories with no named Plaintiffs. Compare PMMMC ¶

  560 with Charts at 2, 21-26.

        These new allegations in the PELMC and the PMMMC impermissibly assert

  state-law claims which the named Plaintiffs (if any) for the given state seek to lead

  in representative capacity on behalf of a putative statewide sub-class, against

  multiple individual Defendants to whom they cannot trace their injuries. In re Insulin

  Pricing Litig., 2019 U.S. Dist. LEXIS 25185, at *55 (D.N.J. Feb. 15, 2019). The

  result is putative state-specific claims against as many as 16 named Defendants to

  whom no injury is traceable in that state. See Charts at 5-20 (PELMC), 21-26

  (PMMMC). Leave to amend should be denied as to each untraced Defendant in each

  state and the respective state-law claims against the individual Defendants should be

  dismissed with prejudice.

        3.     The PELMC Continues to Assert an Insufficient Theory of Loss
               Based on Receipt of a “Less Valuable” Product

        The PELMC further persists in asserting a theory the Court found insufficient

  when it held that Plaintiffs’ second theory of economic loss for “the receipt of a less

  valuable product” was “insufficient to confer standing” because Plaintiffs failed to
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  “provide[] a theory for the factfinder to value” their purported injury. (MTD Opinion

  2 at 13). To establish an economic injury-in-fact, a plaintiff must “allege facts that

  would permit the factfinder to value the purported injury at something more than

  zero dollars without resorting to mere conjecture.” In re Johnson & Johnson Talcum

  Powder Prods. Mktg., Sales Practices & Liab. Litig., 903 F. 3d 278, 280-1 (3d Cir.

  2018). Yet the PELMC alleges no such facts. It simply persists in asserting, in

  language nearly identical to its predecessor version, that “[a]t a minimum,

  contaminated, adulterated, misbranded and/or unapproved VCDs were worth less

  than their non-contaminated equivalents.” (PELMC ¶ 425). Only the word

  “contaminated” is new. The PELMC also continues to assert, unchanged from its

  predecessor, that Defendants’ drugs “were so inherently flawed, unfit, or

  unmerchantable as to have significantly diminished or no intrinsic market value.”

  (PELMC ¶¶ 642, 660, 672). The PELMC contains no factual allegations that would

  permit the factfinder to value the diminution in value, as MTD Opinion 2 requires.

        Once a product has been purchased and consumed, and has functioned as

  intended without causing any adverse health consequences, the user can hypothesize

  no factual basis to value an actual injury. See James v. Johnson & Johnson Consumer

  Co., Inc., No. 2:10-cv-03049, 2011 WL 198026, at *2 (D.N.J. Jan. 20, 2011);

  Bowman v. RAM Med., Inc., No. 10-4403, 2012 WL 1964452, at *1, *3 (D.N.J. May

  31, 2012); Williams v. Purdue Pharma Co., 297 F. Supp. 2d 171, 172, 176 (D.D.C.

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  2003). Accordingly, leave to amend should be denied and Plaintiffs’ second theory

  of economic loss should be dismissed with prejudice.

        4.     The PELMC’s TPP Plaintiffs Fail to Allege Out-of-State Standing
               and Traceability

        The PELMC includes two putative TPP class representatives: MSP Recovery

  Claims, Series LLC (“MSPRC”) and Maine Automobile Dealers Association, Inc.

  (“MADA”). (See PELMC ¶¶ 59-72). These TPP Plaintiffs purport to assert claims

  arising out of reimbursements paid on behalf of their plan members for Defendants’

  valsartan drugs, but their claims suffer from similar standing defects as the

  individual named Plaintiffs. Specifically, they assert improper out-of-state standing

  and name Defendants to whom they have not traced any cognizable injuries.

        MSPRC and MADA seek to represent a nationwide TPP subclass and

  unspecified state sub-classes, asserting claims under the laws of all 50 States,

  Washington, D.C., and Puerto Rico. (PELMC ¶¶ 606-08, 628, 639, 645, 663, 736,

  754). Yet neither TPP Plaintiff purports to reside in or to have paid for valsartan in

  every state or territory. MSPRC purports to sue as the assignee of three specific

  Medicare Advantage Organization (“MAO”) plans, operating in Connecticut, Ohio,

  and New York. (See PELMC ¶¶ 62-65 (identifying EmblemHealth, Summacare, and

  Connecticare as assignors)). To avoid broader discovery obligations, MSPRC has

  affirmatively stipulated that the only claims it asserts in this case are the claims of

  these three at-issue assignor MAOs, and has excluded and dismissed any other TPP
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  claims it may possess by assignment. (See ECF No. 650 ¶¶ 1-2, 4-6). Yet contrary

  to this stipulation, the PELMC attempts to assert economic losses for

  reimbursements in 28 additional states and territories outside of the Connecticut,

  Ohio, and New York areas in which the at-issue assignor MAOs paid their

  reimbursements. (PELMC ¶ 67). MSPRC has alleged no factual basis to assert out-

  of-state claims under the laws of any state other than Connecticut, Ohio, and New

  York, and leave to amend to add other states should be denied.

        As for MADA, it alleges that it was organized under Maine law and operates

  out of Maine. (PELMC ¶ 69). Though MADA purports to have reimbursed payments

  on behalf of members located in Maine, Florida, and New Jersey, it does not allege

  that it issued payments from or suffered alleged economic losses anywhere other

  than its home state of Maine. (Id. ¶ 71). Accordingly, MADA has alleged no factual

  basis to assert out-of-state claims under the laws of any state other than Maine, and

  leave to amend to add other states should be denied.

        With respect to traceability, though the PELMC has added “exemplar”

  reimbursement details (see PELMC ¶¶ 68, 72), it has failed to trace these exemplars

  to all Defendants, or to trace the Manufacturer Defendants’ conduct to any

  cognizable loss incurred by the TPP Plaintiffs. The Court held in MTD Opinion 2

  that the Eleventh Circuit ruling on which Plaintiffs rely, Debernardis v. IQ

  Formulations, 942 F.3d 1076, 1088 (11th Cir. 2019), “stands for the proposition that

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  named plaintiffs must allege facts that show their injuries are fairly traceable to each

  defendants’ conduct.” (MTD Opinion 2 at 18 (emphases added)).

        Here, at best, the TPP Plaintiffs trace the Manufacturer Defendants’ conduct

  to putative injuries incurred by the TPPs’ members, not the TPPs themselves. This

  Court found the sale of allegedly impure valsartan drugs could constitute an

  economic injury to consumers who allegedly “did not receive” the “benefits” of

  ingesting “unadulterated, properly branded, cGMP compliant and therapeutically

  equivalent” drugs. (Id. at 14). But the TPP Plaintiffs are not consumers of the

  valsartan drugs they reimburse, and do not allege facts tracing the Manufacturer

  Defendants’ conduct to a “distinct and palpable” loss to the TPPs. Whitmore v.

  Arkansas, 495 U.S. 149, 155 (1990) (internal quotations omitted). MSPRC and

  MADA allege only that they reimbursed their members’ valsartan purchases. (See

  PELMC ¶¶ 59-72). They do not allege they had to reimburse new or additional

  purchases or pay anything more as a result of alleged impurities. The source of the

  TPPs’ economic loss, separate from the consumers’ putative loss, is absent, and they

  cannot rely on the consumers’ putative injuries for standing. See In re Metformin,

  slip op. at 3 (“[A] class representative must show that they themselves suffered an

  injury and cannot merely rely upon the standing of individuals in the proposed

  class[.]” (citing Spokeo, Inc. v. Robins, 136 S. Ct. 1540, 1547 n.6 (2016)).



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        Moreover, allegations of adulteration, misbranding, or noncompliance with

  cGMPs cannot as a matter of law provide a basis for economic recovery of

  reimbursed Medicare payments, because “all that is required [for Medicare payment]

  is that a drug be approved by the FDA.” United States ex rel. Campie v. Gilead Sci.,

  Inc., No. C-11-0941 EMC, 2015 U.S. Dist. LEXIS 1635, at *39-41 (N.D. Cal. Jan.

  7, 2015) (rejecting False Claims Act claim for recovery of Medicare payments for

  allegedly adulterated drugs). What a TPP bargains for, in short, is reimbursement of

  an FDA-approved drug, not reimbursement of an “unadulterated, properly branded,

  cGMP compliant and therapeutically equivalent” drug. The TPP Plaintiffs do not

  dispute that the valsartan purchases they reimbursed were FDA-approved drugs, and

  thus have not alleged that the Manufacturer Defendants’ alleged conduct is traceable

  to any distinct and palpable economic loss incurred by MSPRC or MADA.

        Because Plaintiffs lack standing with respect to their out-of-state claims and

  their claims against all Defendants to whom they have not traced a distinct injury,

  and they have failed to cure their standing deficiencies after notice and an

  opportunity to amend, the out-of-state and untraced claims asserted in the PELMC

  and PMMMC are futile. It would be prejudicial to require Defendants and the Court

  to incur the time, expense, and effort of addressing claims this Court has already

  held Plaintiffs lack standing to assert. Accordingly, the Court should deny leave to

  amend, dismiss all of Plaintiffs’ out-of-state claims with prejudice, dismiss all claims

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  against Defendants to whom no Plaintiff has traced an injury with prejudice, and

  dismiss all state-specific claims (including statewide sub-class claims) against all

  Defendants to whom no Plaintiff in the state has traced an injury with prejudice.

  C.    Plaintiffs’ Failure to Allege Privity with Regard to the States Identified
        in MTD Opinion 3 Is Fatal to Plaintiffs’ Amended Implied Warranty
        Claims Arising Under the Applicable States’ Laws

        In MTD Opinion 3 and MTD Order 3, the Court dismissed for lack of privity

  Plaintiffs’ implied warranty claims from the PIMC arising under Kentucky and

  Wisconsin law, as well as the implied warranty claims from the ELMC and MMMC

  arising under the laws of Alabama, Arizona, Idaho, Iowa, Kansas, Kentucky,

  Michigan, North Carolina, Ohio, Oregon, Tennessee, Utah, and Wisconsin. (MTD

  Opinion 3 at 20, 22). The Court permitted Plaintiffs to amend their implied warranty

  claims in order to “plead[] this required element.” (Id. at 22). The Proposed

  Amended Complaints, however, fail to cure the absence of privity.

        1.    The PPIMC Fails to Cure Plaintiffs’ Lack of Privity

        The PPIMC asserts breach of implied warranty claims under the laws of “[a]ll

  States and Territories, except Connecticut, Kansas, Louisiana, Mississippi, New

  Jersey, Ohio, Tennessee, and Washington.” (PPIMC Count VII). In an attempt to

  salvage their claims under the laws of Kentucky and Wisconsin, Plaintiffs

  conclusorily allege that “[t]he defendants stand in direct contractual privity with

  consumers, insofar as defendants are the entities that dispensed and received


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  payment for adulterated and/or misbranded VCDs for which consumers paid and

  TPPs reimbursed.” (Id. ¶ 662). That is not privity. Plaintiffs do not and cannot allege

  that they purchased their valsartan drugs from the Manufacturer Defendants—they

  admit as much in the PELMC by showing a diagram depicting the prescription drug

  supply chain. (See PELMC ¶ 155).

        Where, as here, Plaintiffs did not purchase their drugs from the Manufacturer

  Defendants, there can be no implied warranty claims under Kentucky or Wisconsin

  law. See Compex Int’l Co., Ltd. v. Taylor, 209 S.W.3d 462, 463, 465 (Ky. 2006)

  (dismissing implied warranty claim against manufacturer of allegedly defective

  chair because there was no privity between the manufacturer defendant and the

  plaintiff buyer, who purchased the chair from K-Mart); Simpson v. Champion

  Petfoods USA, Inc., 397 F. Supp. 3d 952, 970 (E.D. Ky. 2019) (dismissing implied

  warranty claim where “there [was] no dispute that [the plaintiff] purchased [the

  manufacturer defendant’s] products at various retail stores” and not directly from

  the manufacturer defendant); Grams v. Milk Prods, Inc., 685 N.E.2d 172 (Table),

  2004 WL 1418010, at *4 (Wisc. Ct. App. June 17, 2004) (affirming dismissal of the

  plaintiff’s implied warranty claim where the manufacturer defendant contracted with

  a third-party who sold the allegedly defective product to plaintiff, the ultimate

  consumer, finding no privity of contract); Miller v. Am. Art Clay Co. Inc., 28 F.

  Supp. 3d 825, 829 (W.D. Wisc. 2014) (dismissing implied warranty claim against

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  manufacturer of talc used in another defendant’s clay on the grounds that there was

  no privity between the plaintiff and the talc manufacturer defendant). In failing to

  allege that Plaintiffs purchased their drugs directly from Manufacturer Defendants,

  Plaintiffs’ implied warranty claims premised on Kentucky and Wisconsin are futile.

  Leave to amend should be denied and the PILMC’s implied warranty claims under

  Kentucky and Wisconsin law should be dismissed with prejudice.

        2.     The PELMC and PMMMC Fail to Cure Plaintiffs’ Lack of
               Privity

        The PELMC and PMMMC still purport to bring implied warranty claims

  under the laws of every state. (See PELMC ¶¶ 645, 663; PMMMC ¶ 639). Lack of

  standing aside, see § III.B.1, supra, Plaintiffs’ allegations still lack the “required

  element” of privity in the twelve states identified in MTD Opinion 3. (MTD Opinion

  3 at 22). Plaintiffs attempt to circumvent this element by arguing that they are third-

  party beneficiaries of all contracts between the Manufacturer Defendants and the

  Wholesaler and Retailer Defendants. (PELMC ¶¶ 651-53, 666-68; PMMMC ¶¶ 645-

  47). That effort to evade the privity requirement fails.

        First, even after considering third-party beneficiary theories, the Court has

  already concluded that privity is a required element of implied warranty claims

  seeking damages for economic loss in Alabama, Arizona, Idaho, Iowa, Kansas,

  Kentucky, Michigan, North Carolina, Ohio, Oregon, Tennessee, Utah, and


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  Wisconsin. (MTD Opinion 3 at 22). Plaintiffs’ failure to plead facts in support of

  this prima facie element of their claim is fatal.

        Second, the states for which Plaintiffs must plead privity have either not found

  a third-party beneficiary exception to the privity requirement, rejected such

  arguments, or found allegations similar to those in the PELMC and the PMMMC

  insufficient to confer third-party beneficiary status. In Arizona, the only exception

  to the privity requirement for implied warranty claims is “for certain personally

  injured plaintiffs.” Chaurasia v. Gen. Motors Corp., 126 P.3d 165, 171 (Ariz Ct.

  App. 2006). Oregon courts have similarly held. See Hupp Corp. v. Metered Washer

  Serv., 472 P.2d 816, 817 (Or. 1970) (holding that ultimate purchaser cannot recover

  from the manufacturer defendant for economic loss on an implied warranty claim).

  Likewise, in Kansas, implied warranties extend only to persons “who suffer

  personal, as opposed to economic, injury,” and therefore do not cover third-party

  beneficiary economic injury claims. Limestone Farms, Inc. v. Deere & Co., 29 P.3d

  457, 461 (Kan. Ct. App. 2001) (rejecting plaintiffs’ intended third-party beneficiary

  implied warranty claims). Kentucky and North Carolina also only extend third-party

  beneficiary status to plaintiffs in personal injury actions. See Simpson, 397 F. Supp.

  3d at 964-65, 969 (rejecting the extension of third-party beneficiary status to

  plaintiffs in economic loss cases under Kentucky law); Kelly v. Georgia-Pac. LLC,

  No. 7:08-cv-197, 2010 WL 11579013, at *6–7 (E.D.N.C. Aug. 31, 2010) (declining

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  to extend third-party beneficiary theory to the privity requirement of implied

  warranty claims where only economic loss is sought).

        Ohio has “rejected the argument regarding third-party beneficiaries” with

  respect to the privity requirement altogether. Traxler v. PPG Indus., Inc., 158 F.

  Supp. 3d 607, 625-26 (N.D. Ohio 2016) (citing Savett v. Whirlpool Corp., No. 12-

  cv-310, 2012 WL 3780451, at *10 (N.D. Ohio Aug. 31, 2012)) (stating that Savett

  Court “found no reason to carve out this new exception”). Tennessee and Alabama

  also do not recognize any exception to the privity requirement. Americoach Tours,

  Inc. v. Detroit Diesel Corp., No. 04-cv-2016, 2005 WL 2335369, at *8 (W.D. Tenn.

  Sept. 23, 2005) (dismissing implied warranty claim and stating that “[t]he Court has

  found no opinion in which a Tennessee court has held that in the absence of privity

  a plaintiff could bring a claim for breach of an implied warranty to recover only

  economic damages, nor has the Plaintiff cited to any such authority”); see also Cloud

  Nine, LLC v. Whaley, 650 F. Supp. 2d 7889, 795 (E.D. Tenn. 2009) (finding the

  plaintiff’s third-party beneficiary argument unavailing); Weidman v. Ford Motor

  Co., No. 18-cv-12719, 2019 WL 3003693, at *4 (E.D. Mich. July 10, 2019)

  (applying Alabama law) (quoting Rampey v. Novartis Consumer Health, Inc., 867

  So. 2d 1079, 1087 (Ala. 2003)) (noting the “absence of authority” to contradict

  longstanding Alabama law that there can be no implied warranty claim “against a



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  manufacturer who was not involved in the transaction pursuant to which the

  complaining party purchased the product”).

        Other States, like Idaho, allow a third-party beneficiary exception where it is

  properly pled. But to plead such a claim, the plaintiff must “demonstrate that a

  contract was made expressly for its benefit,” that is, “the contract itself must express

  an intent to benefit the third party.” American West Enterprises, Inc. v. CNH, LLC,

  316 P.3d 662, 668-69 (Idaho 2013). The PELMC and PMMMC lack any factual

  allegations pointing to language in any agreement between the Manufacturer

  Defendants and other downstream Defendants indicating that the contract was made

  primarily and expressly for Plaintiffs’ benefit.

        Because the PELMC and PMMMC have not alleged direct privity between

  Plaintiffs and the Manufacturer Defendants, and have not alleged any cognizable

  third-party beneficiary exception under the applicable states’ laws, their implied

  warranty claims are futile in those states requiring privity. Leave to amend should

  be denied and the PELMC’s and PMMMC’s implied warranty claims under the laws

  of Alabama, Arizona, Idaho, Iowa, Kansas, Kentucky, Michigan, North Carolina,

  Ohio, Oregon, Tennessee, Utah, and Wisconsin should be dismissed with prejudice.

  D.    The Court Should Deny Leave to Amend Plaintiffs’ Subsumed Claims
        Identified in MTD Opinion 5 Because the PELMC and PMMMC Fail to
        Plead Claims Under the Applicable States’ Product Liability Acts

        In MTD Opinion 5 and MTD Order 5, the Court dismissed as subsumed all

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  claims in the ELMC arising under Louisiana law, and numerous claims in the

  MMMC arising under the laws of Connecticut, Indiana, Kansas, Louisiana,

  Mississippi, New Jersey, Ohio, Tennessee, Washington. (MTD Order 5 at 2-4).

  Unlike the PPIMC, which proposes amendments to address MTD Opinion 5 and

  adds claims under states’ Product Liability Acts (see PPIMC ¶¶ 765-805), the

  PELMC and PMMMC have made no attempt to cure their subsumed claims.

        1.     The PELMC Has Failed to Cure the Subsumption of Claims
               Under Louisiana Law

        The PELMC asserts no claims under the Louisiana Products Liability Act and

  does not exclude Louisiana from the common law claims asserted by Plaintiffs. See

  PELMC ¶¶ 558-684. This Court has already held the PELMC’s common law claims

  for breach of express warranty, breach of implied warranty, fraud, negligent

  misrepresentation, unjust enrichment, negligence, and negligence per se are

  subsumed. (MTD Opinion 5 at 22). Having failed to cure the deficiency, leave to

  amend should be denied and Plaintiffs’ claims under Louisiana law should be

  dismissed with prejudice from the PELMC.

        2.     The PMMMC Has Failed to Cure the Subsumption of Claims
               Under Nine States’ Laws

        The PMMMC does not add any claims under any states’ Product Liability

  Acts to address the Court’s ruling dismissing as subsumed, in whole or in part,

  Plaintiffs’ claims arising under the laws of Connecticut, Indiana, Kansas, Louisiana,


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  Mississippi, New Jersey, Ohio, Tennessee, and Washington. (MTD Order 5 at 2-4).

  Instead, the PMMMC persists in asserting the same common law claims the Court

  held subsumed, and unlike the PPIMC, does not exclude the subsumed states’ claims

  from the PMMMC’s common law claims.5 (See PMMMC ¶¶ 558-684).

        Because the PMMMC fails to cure the subsumption deficiencies identified by

  the Court, leave to amend should be denied and the subsumed claims should be

  dismissed with prejudice. Subsumption requires dismissal of Plaintiffs’ common law

  claims with prejudice, as the applicable states’ Product Liability Acts are the only

  path to recovery available to Plaintiffs. Plaintiffs’ failure to allege claims under the

  subject states’ acts in the PMMMC indicates their inability to do so because they

  cannot allege injuries cognizable under these states’ product liability laws:

              Connecticut. Medical monitoring is not a cognizable injury under the
               Connecticut Product Liability Act. Bowerman v. United Illuminating,
               1998 WL 910271, at *10 (Conn. Super. Dec. 15, 1998).

              Indiana. The Indiana Product Liability Act requires “physical harm
               caused by a product.” Ind. Code Ann. § 34-20-1-1.


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   MTD Order 5 dismissed from the MMMC as subsumed: (1) all claims arising
  under the laws of Connecticut, Kansas, Louisiana and Tennessee; (2) all claims
  except fraud arising under Washington, Mississippi and Ohio law; (3) all claims
  except breach of express and implied warranty arising under Indiana law; and (4)
  all claims except breach express warranty arising under New Jersey law. The
  PMMMC retains all common law claims against each of these States (see
  PMMMC ¶¶ 558, 560), other than the standalone claim for medical monitoring,
  which the PMMMC dismisses as to, inter alia, Louisiana, Mississippi, and New
  Jersey. (See PMMMC, Fourth Claim for Relief, at 200 n. 209).

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             Kansas. “Harm” under the Kansas Product Liability Act requires
              “property damage,” “personal physical injuries, illness and death” or
              “mental anguish or emotional harm attendant to such personal physical
              injuries, illness or death.” Kan. Stat. Ann. § 60-3302.

             Louisiana. Damage under the Louisiana Product Liability Act
              “exclude[s] future medical monitoring for asymptomatic plaintiffs.”
              Guillot v. Aventis Pasteur, Inc., No. CIV.A. 02-3373, 2013 WL
              4508003, at *7 (E.D. La. Aug. 22, 2013).

             Mississippi. “Mississippi law does not recognize a claim for medical
              monitoring based on increased risk of future disease.” Paz v. Brush
              Engineered Materials, Inc., 949 So. 2d 1, 5 (Miss. 2007).

             New Jersey. Medical monitoring is not a cognizable injury under the
              New Jersey Product Liability Act. See Sinclair v. Merck & Co., 948 A.
              2d 587, 595 (N.J. 2008).

             Ohio. Cognizable “[h]arm” under the Ohio statute “means death,
              physical injury to person, serious emotional distress, or physical
              damage to property.” Ohio Rev. Code Ann. § 2307.71(A)(7).

             Tennessee. A “[p]roduct liability action” under the Tennessee statute
              includes actions “on account of personal injury, death or property
              damage.” Tenn. Code Ann. § 29–28–102(6) (2008).

             Washington. “Harm” under the Washington statute “includes any
              damages recognized by the courts of this state[.]” Wash. Rev. Code. §
              7.72.010 (2008). Washington courts require “present, existing injury”
              for a medical monitoring claim. Duncan v. Nw. Airlines, Inc., 203
              F.R.D. 601, 609 (W.D. Wash. 2001).

        As Plaintiffs allege no cognizable injury under the subject States’ Product

  Liability Acts, amendment of the PMMMC as to these claims would be futile, and

  defense of the already-subsumed common law claims would be prejudicial. The

  Court should deny leave to amend and dismiss the subsumed claims with prejudice.



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  E.    The Court Should Deny Leave to Amend to the Extent Plaintiffs Fail to
        Address the Absence of an Independent Cause of Action for Negligence
        Per Se as Required by MTD Opinion 5

        MTD Opinion 5 and MTD Order 5 dismissed with prejudice Plaintiffs’

  separate negligence per se claims under the laws of Arkansas, Arizona, California,

  Massachusetts, Maine, Nebraska, Rhode Island, and Texas. (See MTD Opinion 5 at

  30). Yet, in the PELMC and PMMMC, Plaintiffs fail to exclude these States from

  their negligence per se claims. (See PELMC ¶¶ 584-91; PMMMC ¶¶ 806-13).

  Amendment of these claims would be futile, as the eight identified states do not

  recognize a standalone cause of action for negligence per se. Accordingly, leave to

  amend should be denied and Plaintiffs’ negligence per se claims should remain

  dismissed with prejudice with respect to those eight states.

  F.    Plaintiffs’ Failure to Allege the Absence of an Adequate Remedy at Law
        as Required by MTD Opinion 6 is Fatal to Plaintiffs’ Amended Unjust
        Enrichment Claims in Those States Requiring Such Allegations

        In MTD Opinion 6, the Court dismissed Plaintiffs’ “unjust enrichment claims

  arising under the laws of Florida, Iowa, Kansas, and Louisiana because these states

  require pleading no adequate remedy at law exists.” (MTD Opinion 6 at 30). The

  Court further dismissed Plaintiffs’ unjust enrichment claims “arising under the laws

  of Alabama, Florida, Hawaii, Idaho, Illinois, Louisiana, Massachusetts, Mississippi,

  Oklahoma, South Carolina, and West Virginia because these states prohibit the

  pleading of an unjust enrichment claim when an adequate remedy at law exists.” (Id.


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  at 33). In each instance, the Court granted Plaintiffs leave to amend to the extent

  they could plead no adequate remedy at law exists. (Id. at 30, 33). The PELMC fails

  to plead any factual allegations demonstrating the absence of an adequate remedy at

  law, and therefore fails to cure the insufficient pleading.

        Substantively, the unjust enrichment claims in the PELMC (see PELMC ¶¶

  770-785) are the same as those in the predecessor ELMC, except for the addition of

  a conclusory allegation that Plaintiffs have no adequate remedy at law and that the

  claim is pled in the alternative. (Id. ¶¶ 776-77, 784-85). These additional, non-factual

  allegations still fail to state a claim upon which relief can be granted. Plaintiffs must

  allege facts demonstrating that they have no adequate remedy at law, either to satisfy

  a necessary element of the cause of action or as a prerequisite to bringing the claim.

  See, e.g. Soule v. Hilton Worldwide, Inc., 1 F. Supp. 3d 1084, 1103 (D. Hi. 2014)

  (dismissing unjust enrichment claim where the plaintiff failed to indicate that

  potential damages for other claims would be inadequate and further finding that the

  claim for unjust enrichment could not even be pled in the alternative, because

  “Hawaii law makes clear that the absence of an adequate remedy at law is a

  necessary prerequisite to maintaining an unjust enrichment claim”); Sefton v. Toyota

  Motor Sales U.S.A., Inc., No. 09-cv-3787, 2010 WL 1506709, at *6 (N.D. Ill. Apr.




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  14, 2010) (dismissing unjust enrichment claim where the plaintiff alleged in a

  conclusory manner that she had no adequate remedy at law with no explanation).6

         Although Plaintiffs offer the conclusory allegation that they “do not have [sic]

  adequate remedy at law” (PELMC ¶¶ 777, 785), the absence of facts to support their

  bald, threadbare conclusion means it should be disregarded. See Ashcroft v. Iqbal,

  556 U.S. 662, 664 (2009) (“[L]egal conclusions can provide the complaint’s

  framework, but they must be supported by factual allegations.”). Notably, Plaintiffs

  fail to allege how monetary damages potentially afforded by their myriad other

  claims are not adequate. See In re MacBook Keyboard Litig., No. 5:18-cv-2813,

  2020 WL 6047253, at *3 (N.D. Cal. Oct. 13, 2020) (“Courts generally hold that

  monetary damages are an adequate remedy for claims based on an alleged product

  defect, and reject the argument that injunctive relief . . . is appropriate.”). Plaintiffs’

  “formulaic recitation of the elements of a cause of action will not do.” Iqbal, 556

  U.S at 678 (citation omitted). Even claims pled in the alternative must be sufficiently


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           See also In re Processed Egg Prods. Liab. Litig., 851 F. Supp. 2d 867, 917-
  18 (E.D. Pa. 2012) (“Plaintiffs must allege facts which, taken as true, plausibly
  suggest this element of the [unjust enrichment] claim”); Milman v. FCA US LLC,
  No. 18-cv-686, 2018 WL 5867481, at *15 (C.D. Cal. Aug. 30, 2018) (dismissing
  claim for unjust enrichment that was pled in the alternative where the plaintiff
  merely “allege[d] in a conclusory fashion” that the plaintiff had no adequate
  remedy at law and failed to allege how monetary damages were unavailable to the
  plaintiff); Hanks v. Andrews, No. 05-cv-2275, 2006 WL 1371625, at * 5 (D. Ariz.
  May 15, 2006) (dismissing unjust enrichment claim where the plaintiff failed to
  allege “how there is no adequate remedy at law”).

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  pled. See Irene v. Michael Whaley Interiors, Inc., No. 19-cv-14998, 2020 WL

  759573, at *2 (D.N.J. Feb. 13, 2020) (stating that alternative claims must satisfy

  federal pleading standards); Sagastume v. Psychemedics Corp., No. 20-cv-6624,

  2020 WL 8175597, at *7 (C.D. Cal. Nov. 30, 2020) (same).7

        Because Plaintiffs have failed to allege facts demonstrating that they have no

  adequate remedy at law, their unjust enrichment claims arising under the laws of

  Alabama, Florida, Hawaii, Idaho, Iowa, Illinois, Kansas, Louisiana, Massachusetts,

  Mississippi, Oklahoma, South Carolina, and West Virginia are futile and the defense

  of claims the Court already found insufficient is prejudicial. Leave to amend should

  be denied and the Court should dismiss with prejudice Plaintiffs’ unjust enrichment

  claims under these 13 states’ laws.

  G.    The Court Should Deny Leave to Amend to Add Allegations and a
        Theory of Failure to Comply with “Official Compendium” Standards

        The Proposed Master Complaints further seek to introduce new allegations

  for the first time that the Manufacturer Defendants’ valsartan drugs do not conform




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          Moreover, whether Plaintiffs are ultimately unsuccessful in obtaining those
  other remedies is immaterial. For example, under Massachusetts law, plaintiffs
  cannot bring “a claim for unjust enrichment where an adequate remedy at law
  exists—regardless of the viability of that theory or whether it sounds in contract,
  fraud, or tort.” In re Gen. Motors LLC Ignition Switch Litig., 257 F. Supp. 3d 372,
  419 (S.D.N.Y. 2017), modified on reconsideration, No. 14-MC-2543, 2017 WL
  3443623 (S.D.N.Y. Aug. 9, 2017). The standard is availability of an adequate
  remedy, not the likelihood of success.

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  to the “official compendium” standards or requirements for valsartan drugs of the

  same name. (See PPIMC ¶¶ 175, 218, 350, 390, 392, 647-50; PELMC ¶¶ 4, 232,

  390, 415, 418, 625, 743, 761; PMMMC ¶¶ 389, 185, 348, 369, 372, 657). Plaintiffs

  allege the Manufacturer Defendants violated two putative compendia—the FDA’s

  Approved Drug Products with Therapeutic Equivalence Evaluations, known as the

  “Orange Book,” and the United States Pharmacopeia (“USP”). (See id.). These

  allegations assert what amount to per se claims of breach of warranty and fraud

  based on the mere nomenclature of the Manufacturer Defendants’ valsartan drugs.

  The Court should reject Plaintiffs’ new amendments as futile and prejudicial.

        1.     Plaintiffs’ “Official Compendium” Allegations Introduce a New
               and Unauthorized Theory of Liability into These Proceedings

        Plaintiffs’ new allegations diverge from their earlier (and ongoing) allegations

  that each Manufacturer Defendant purportedly failed to comply with Current Good

  Manufacturing Practices (“cGMPs”) and thereby failed to supply bioequivalent or

  therapeutically equivalent generic drugs. The “official compendium” theory shifts

  focus from the Manufacturer Defendants’ conduct to the mere presence of impurities

  in any valsartan drug sharing the same name as a valsartan drug listed in an official

  compendium, asserting this constitutes a per se sale of “adulterated” or

  “misbranded” drugs. (See, e.g., PPIMC ¶¶ 175, 198-99, 218; PELMC ¶¶ 4, 214-15,

  390; PMMMC ¶¶ 389, 141-42, 348). Plaintiffs insist that any valsartan drug

  containing a nitrosamine impurity “did not meet” the alleged “requirements” or
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  “standards” of the Orange Book and USP, and therefore using the same name or

  “designation” as a compendium-listed valsartan drug is a “false statement” and

  breach of “representations and warranties” that the drug is “in compliance with the

  compendial standards.” (See PPIMC ¶¶ 175, 218, 350, 390, 392, 647-50; PELMC

  ¶¶ 4, 173, 232, 415, 418, 625, 743, 761; PMMMC ¶¶ 389, 185, 369, 372, 657).

        Plaintiffs’ earlier Master Complaints do not allege any such non-compliance

  with “compendial standards,” deviations from Orange Book or USP “standards” or

  “requirements,” or adulteration or misbranding based on alleged non-compliance

  with an “official compendium.” (See ECF No. 1148-2 ¶¶ 175, 218, 350, 390, 392,

  647-50g; ECF No. 1148-4 ¶¶ 4, 173, 232, 390, 415, 418, 625, 743, 761; ECF No.

  1148-6 ¶¶ 389, 185, 348, 369, 372, 657). Indeed, Plaintiffs’ only prior references to

  the Orange Book were in the context of asserting general warranties of

  bioequivalence and therapeutic equivalence. (See ECF No. 1148-2 ¶¶ 347-48, 367,

  688; ECF No. 1148-4 ¶¶ 413-14, 439; ECF No. 1148-6 ¶¶ 367-68, 393). And

  Plaintiffs’ only prior references to the “official compendium” definitions of

  adulteration and misbranding were abstract statutory citations. (See ECF No. 1148-

  2 ¶¶ 198-99; ECF No. 1148-4 ¶¶ 214-15; ECF No. 1148-6 ¶¶ 141-42).

        Nor do the MTD Opinions or MTD Orders contemplate Plaintiffs’

  amendments to add such allegations. The MTD Opinions, like Plaintiffs’ earlier

  pleadings, discuss the Orange Book only in the context of general warranties of

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  equivalence. (See, e.g., MTD Opinion 1 at 4; MTD Opinion 2 at 5; MTD Opinion 3

  at 6-7, 9, 13-14, 16; MTD Opinion 4 at 5, 14-15; MTD Opinion 5 at 3-4, 6). And

  only one MTD Opinion mentions the “official compendium” standard, again in the

  form of an abstract statutory citation. (MTD Opinion 2 at 4). The MTD Opinions

  and MTD Orders certainly do not sanction the addition of “official compendium”

  allegations without explanation or justification, as Plaintiffs seek to do here.

        2.     Plaintiffs’ Allegations of Non-Conformance with “Official
               Compendium” Standards Fail to State a Claim

        There is no plausible legal theory underlying Plaintiffs’ allegations that

  Defendants are liable for alleged non-conformance with the standards or

  requirements of an “official compendium.” Plaintiffs rely on the FDCA’s definitions

  of “adulterated” and “misbranded” drugs. (See PPIMC ¶¶ 198-99; PELMC ¶¶ 4,

  214-15, 390; PMMMC ¶¶ 389, 141-42, 348). The adulteration provision states a

  drug shall be deemed adulterated if it “purports to be or is represented as a drug the

  name of which is recognized in an official compendium, and its strength differs from,

  or its quality or purity falls below, the standard set forth in such compendium.” 21

  U.S.C. § 351(b). The misbranding provision states a drug shall be deemed

  misbranded if it “purports to be a drug the name of which is recognized in an official

  compendium, unless it is packaged and labeled as prescribed therein.” 21 U.S.C. §

  351(g). Plaintiffs assert from these definitions that any generic valsartan drug

  sharing the name of an Orange Book-listed or USP-listed counterpart is adulterated
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  and misbranded if it contains any impurities, and consequently the name itself

  constitutes a breach of warranty or false representation. (See PPIMC ¶¶ 175, 218,

  350, 390, 392, 647-50; PELMC ¶¶ 4, 173, 232, 415, 418, 625, 743, 761; PMMMC

  ¶¶ 389, 185, 369, 372, 657). That claim fails for two reasons.

        First, the Orange Book is not an “official compendium.” The Federal Food,

  Drug, and Cosmetic Act (“FFDCA”) defines an “official compendium” as “the

  official United States Pharmacopoeia, official Homoeopathic Pharmacopoeia of the

  United States, official National Formulary, or any supplement to any of them.” 21

  U.S.C. § 321(j). The Orange Book, by contrast, is a publication of “listed drug”

  products approved by the FDA with related patent and exclusivity information. See

  21 CFR 314.3(b), 314.53. Plaintiffs’ new allegations that the Manufacturer

  Defendants did not comply with “Orange Book standards,” “Orange Book

  requirements,” or “compendial standards” based on Orange Book listings thus fail

  to state a valid legal claim for non-conformance with an “official compendium.”

  (See PPIMC ¶¶ 175, 390 392; PELMC ¶¶ 4, 390, 625; PMMMC ¶¶ 389, 348, 657).

        Second, though the USP is an “official compendium,” it contained no

  “compendial standards” relating to nitrosamines during the relevant time period

  preceding the valsartan recalls in 2018. The determination of whether a drug is

  “adulterated” based on differing “strength, quality, or purity” from the “official

  compendium” standard is “made in accordance with the tests or methods of assay

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  set forth in such compendium[.]” 21 U.S.C. § 351(b) (emphasis added). For a drug

  to be “misbranded,” it must be “packaged and labeled” other than “as prescribed”

  by the compendium. 21 U.S.C. § 352(g) (emphasis added).

        Prior to the 2018 recalls, the USP neither “set forth” nor “prescribed” any

  standards governing the previously undetected issue of nitrosamine impurities; these

  standards issued for the first time in 2020. See https://www.usp.org/news/

  nitrosamines-impurities (last accessed May 14, 2021) (announcing release of USP’s

  six initial nitrosamine Reference Standards in July 2020 and its proposal for a

  general chapter standard for nitrosamines in September 2020, based on the finding

  of nitrosamine impurities in some hypertension drugs “[s]tarting in 2018”).8

  Plaintiffs cannot allege that the Manufacturer Defendants’ valsartan drugs were

  adulterated or misbranded based on standards not “set forth” or requirements not

  “prescribed” by the USP at the time. See Momenta Pharms., Inc. v. Amphastar

  Pharms., Inc., 686 F.3d 1348, 1360 (Fed. Cir. 2012) (noting that testing for

  adulteration “must be carried out pursuant to the methods articulated in the

  compendium, in this case the USP”). Plaintiffs’ new allegations that the

  Manufacturer Defendants did not meet “USP standards,” “USP requirements,” or


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           The Court may consider USP’s applicable standards at the time, as
  Plaintiffs incorporate those standards into their proposed pleadings. See Fed. R.
  Evid. 201(b); Winer Family Trust v. Queen, 503 F.3d 319, 327 (3d Cir. 2007);
  Buck v. Hampton Twshp. Sch. Dist., 452 F.3d 256, 260 (3d Cir. 2006).

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  “compendial standards” based on the “USP designation” thus do not state a valid

  legal claim. (See PPIMC ¶¶ 175, 218, 349-50; PELMC ¶¶ 4, 232, 390, 415, 418,

  625, 743; PMMMC ¶¶ 389, 185, 348, 369, 372, 657).

        3.    Plaintiffs’ Allegations and Theory of Liability Based on the
              Manufacturer Defendants’ Supposed Non-Conformance with
              Orange Book Standards Are Preempted

        Plaintiffs’ new allegations of non-conformance with “Orange Book

  standards” and “Orange Book requirements” are also preempted by federal law

  because they challenge the validity of the valsartan drugs’ Orange Book listings and

  thus impinge upon the FDA’s exclusive authority. The Orange Book is a creation of

  the FFDCA, and the decision to list or delist a drug is committed to the FDA alone.

  See 21 U.S.C. § 355(j)(7) (creating Orange Book listing requirement); 21 CFR 314.3

  (defining “Listed drug”), 314.53 (FDA determines Orange Book listings), 314.161

  (FDA decides when to delist a voluntarily withdrawn drug). Accordingly, any claim

  seeking to “delist a patent from the Orange Book” is “an impermissible attempt by

  a private party to enforce the FFDCA” and is barred by federal law. Mylan Pharms.,

  Inc. v. Thompson, 268 F.3d 1323, 1329-32 (Fed. Cir. 2001) (citing 21 U.S.C. §

  337(a); Buckman Co. v. Plaintiffs’ Legal Cte., 531 U.S. 341 (2001); In re:

  Orthopedic Bone Screws Prods. Liab. Litig., 193 F.3d 781, 788 (3d Cir. 1999)).

        The same holds for claims that do not explicitly seek to delist a drug from the

  Orange Book, but “in essence” are directed to the same end—as where a party rests

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  the “entire cause of action” on proving that the defendant “improperly listed the

  [drug] because it does not comply with the requirements of” the FFDCA. Mylan,

  268 F.3d at 1332. Such claims are “analogous to those barred in the long line of

  cases precluding private rights of action under the FFDCA.” Id.9

        Here, Plaintiffs’ new allegations expressly rely on assertions that the

  Manufacturer Defendants’ valsartan drugs do not comply with “Orange Book

  standards” or “Orange Book requirements”—a direct challenge to the drugs’ Orange

  Book listings. (See PPIMC ¶¶ 175, 390 392; PELMC ¶¶ 4, 390, 625; PMMMC ¶¶

  389, 348, 657). That is a significant departure from Plaintiffs’ earlier allegations,

  which referenced the Orange Book only in the context of asserting general

  warranties of bioequivalence, therapeutic equivalence, and compliance with cGMPs.

  (See PPIMC ¶¶ 347-48; PELMC ¶¶ 413-14; PMMMC ¶¶ 367-68). Plaintiffs’ new

  allegations necessarily intrude into the FDA’s exclusive authority to decide whether

  a given valsartan drug meets the criteria to be a “listed drug” in the Orange Book.

        That is an important difference, as this Court had occasion to discuss in


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           Congress later amended the FFDCA to add a narrow exception allowing a
  private defendant to challenge an Orange Book listing as a counterclaim to a patent
  infringement action. See 21 U.S.C. § 355(j)(5)(C)(ii); Caraco Pharm. Labs, Ltd. v.
  Novo Nordisk, 566 U.S. 399, 408-09 (2012)). That narrow exception, not
  applicable here, reinforces the point that Plaintiffs’ new theory impermissibly
  seeks to challenge the Manufacturer Defendants’ Orange Book listings through a
  private right of action that Congress has not authorized even after amending the
  statute.

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  Takeda Pharm. Co. v. Zydus Pharms. USA Inc., No. CIV.A. 10-1723 JAP, 2011 WL

  2115819 (D.N.J. May 25, 2011) (Pisano, J.). There, the Court recognized that the

  question “boils down to” whether a claim “is substantively analogous to a private

  action for violation of the FFDCA[.]” Id. at *5. Where the claim is “based solely on

  a party’s violation of a requirement imposed by the FFDCA” and “[a]t its core”

  alleges “no more than” a violation of the FFDCA, “such a claim is prohibited.” Id.

  at *5-6. See also Midlothian Laboratories, L.L.C. v. Pamlab, L.L.C., 509 F. Supp.

  2d 1065, 1085-86 (M.D. Ala. 2007) (quoting Solvay Pharms., Inc. v. Ethex Corp.,

  No. Civ. 03-2836, 2004 WL 742033 at *3 (D. Minn. 2004)), vacated in part on other

  grounds, 509 F. Supp. 2d 1095 (M.D. Ala. 2007) (stating that a claim “based on a

  [false] representation of product equivalency—marketing a product as a ‘generic’

  version of a branded product—may be maintained when ‘the truth or falsity of the

  statements in question can be resolved through reference to standards other than

  those of the FDA,’ but not ‘where a claim requires interpretation of a matter that is

  exclusively within the jurisdiction and expertise of the FDA and FDCA’”) (emphasis

  added). In this case, because Plaintiffs’ new allegations are based solely on

  Defendants’ alleged violations of “Orange Book standards” and “Orange Book

  requirements,” they constitute an impermissible private attempt to exercise the

  FDA’s exclusive authority under the FFDCA, and are preempted.10


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             The Court found in MTD Opinion 1 that Plaintiffs’ earlier claims were not
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        4.    Plaintiffs’ “Official Compendium” Amendments Are Prejudicial

        Plaintiffs’ proposed amendments are also prejudicial. They belatedly

  introduce new sources of putative representations and warranties—the USP and

  Orange Book—on which Plaintiffs now claim to have relied in asserting fraud-based

  and warranty-based claims. (See PPIMC ¶¶ 218, 349-50, 390, 392, 552, 647-50, 655,

  688, 691, 761; PELMC ¶¶ 232, 415, 418, 625, 743-44, 748, 761, 766; PMMMC ¶¶

  185, 369, 372, 657, 676, 679, 680). Plaintiffs’ depositions have been ongoing since

  January, with more than two dozen already completed. Defendants had no prior



  preempted because preemption must be “the clear and manifest purpose of
  Congress” and Plaintiffs’ prior claims “depend on traditional tort and contract law
  sources.” (MTD Opinion 1 at 10-12 (citing Wyeth v. Levine, 555 U.S. 555, 565
  (2009); Tigert v. Ranbaxy Pharms., Inc., Civ. No. 12-000154, 2012 WL 6595806
  (D.N.J. Dec. 18, 2012) (Kugler, J.)). Plaintiffs’ new allegations invoke no such
  “traditional tort and contract law sources,” and instead directly assert non-
  conformance with the Orange Book. (See PPIMC ¶¶ 175, 390 392; PELMC ¶¶ 4,
  390, 625; PMMMC ¶¶ 389, 348, 657). Congress has been clear and manifest that
  Orange Book listings are an area of exclusive FDA authority with only one narrow
  exception not applicable here. See 21 U.S.C. § 355(j)(5)(C)(ii). Thus, the
  “traditional presumption against preemption of state law [does] not apply” here.
  Tigert, 2012 WL 6595806, at *5. No presumption against preemption attaches in
  the face of the “plain wording” of federal law. Puerto Rico v. Franklin Cal. Tax-
  Free Trust, 136 S. Ct. 1938, 1946 (2016). Rather, Plaintiffs’ proposed amendments
  fall squarely into the category of a claim that “in substance seeks to enforce the
  [FFDCA]” regardless of being labeled “as arising under a state law[.]” Loreto v.
  Procter & Gamble Co., 515 F. App’x 576, 579 (6th Cir. 2013); see also Exela
  Pharma Scis., LLC v. Sandoz Inc., No. 1:19-CV-00318-MR, 2020 WL 5535026, at
  *5 (W.D.N.C. Sept. 15, 2020) (same); Evans v. Rich, No. 5:13-CV-868-BO, 2014
  WL 2535221, at *2 (E.D.N.C. June 5, 2014) (“Thus, where private litigants are
  effectively suing for a violation of the FDCA under the guise of state law, their
  claims are impliedly preempted.”).

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  notice Plaintiffs were asserting the existence of, or their reliance upon, any “official

  compendium” representations or warranties, and have thus had no opportunity to

  depose Plaintiffs on these topics. Plaintiffs’ belated introduction of a new theory of

  liability and new sources of putative representations and warranties deprives the

  Defendants of “fair notice, possibly discovery, and the opportunity for motion

  practice,” and thus would “surely prejudice” them. In re Bristol-Myers Squibb Sec.

  Litig., 228 F.R.D. 221, 229 (D.N.J. 2005) (quoting Wilson v. Muckala, 303 F.3d

  1207, 1215-16 (10th Cir. 2002)).

        Plaintiffs’ amendments also prejudicial because they impose an “unfair

  burden” on Defendants. Arthur v. Maersk, Inc., 434 F.3d 196, 204 (3d Cir. 2006)

  (quoting Adams v. Gould Inc., 739 F.2d 858, 868 (3d Cir. 1984)). If allowed,

  Plaintiffs’ amendments would oblige Defendants (and the Court) to incur time,

  expense, and delay addressing through motion practice and discovery the legal and

  factual merits of a new theory that, for the reasons already described, has no viable

  legal basis. Because “prejudice to the non-moving party is the touchstone for the

  denial of an amendment,” the Court should deny Plaintiffs’ Motion to Amend.

  Lorenz v. CSX Corp., 1 F.3d 1406, 1414 (3d Cir. 1993) (citations omitted).

                                 IV.    CONCLUSION

        Plaintiffs’ Motion to Amend seeks leave to file three Proposed Master

  Complaints, which by and large fail to address the pleading deficiencies identified

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  by this Court in its MTD Opinions and MTD Orders, are futile, and are prejudicial.

  Allowing the proposed amendments would tie up the parties’ and the Court’s time

  with additional motion practice on claims the Court has already found insufficient,

  as well as new allegations that are patently insufficient. The Court’s prior rulings

  were a roadmap for Plaintiffs to follow in amending their pleadings, not an

  inconvenience to be disregarded. Accordingly, the Court should deny the Motion to

  Amend, or, in the alternative, grant the Motion to Amend subject to the conditions

  and limitations that: (1) the claims and allegations Plaintiffs failed to cure, as detailed

  in this opposition, should be dismissed with prejudice; (2) leave to amend to add

  Plaintiffs’ new “official compendium” allegations and theory should be denied and

  the new allegations disallowed; and (3) Plaintiffs should conform the Proposed

  Master Complaints to the Court’s ruling, without any further unauthorized additions

  or amendments.

  Dated: May 27, 2021                              Respectfully submitted,

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